                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )
 v.                                               )          No. 3:05-CR-128
                                                  )          (PHILLIPS/GUYTON)
 JEFF HICKMAN,                                    )
                                                  )
                       Defendant.                 )


                                MEMORANDUM AND ORDER

                The defendant, Jeff Hickman moves the Court [Doc. 118] to direct the clerk to issue

 subpoenas at no cost to the defendant, for the June 13, 2006 trial of this case for the following

 witness: Wanda Hunley. Movant relies on indigence.

                The said Motion [Doc. 118] is GRANTED. Counsel for Jeff Hickman shall submit

 the subpoena forms to the clerk for issuance, at no cost to the defendant Jeff Hickman.

        IT IS SO ORDERED.

                                              ENTER:

                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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